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14                                  UNITED STATES DISTRICT COURT
15
                                  NORTHERN DISTRICT OF CALIFORNIA
16
                                         SAN FRANCISCO DIVISION
17

18
     STATE OF CALIFORNIA and GAVIN                )    Case No. 3:25-cv-03372-JSC
19   NEWSOM, in his official capacity as Governor )
     of California,                               )    [PROPOSED] ORDER GRANTING
20                                                )    DEFENDANTS LEAVE TO FILE
             Plaintiffs,                          )    SUPPLEMENTAL BRIEF
21                                                )
         v.                                       )
22                                                )
     DONALD J. TRUMP, et al.,                     )
23                                                )
             Defendants.                          )
24                                                )
25          Defendants have filed an administrative motion for leave to file a supplemental brief. Having

26 considered the motion and all materials submitted in relation thereto, and good cause having been

27 shown, it is hereby ordered that defendants’ administrative motion is GRANTED.

28

     [PROPOSED] ORDER GRANTING DEFS. LEAVE TO FILE SUPPLEMENTAL BR.
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 1          The proposed supplemental brief attached to defendants’ administrative motion is accepted for

 2 filing, and deemed filed as of the date of this order.

 3
     IT IS SO ORDERED.
 4
     DATED: _____________
 5

 6
                                                            HON. JACQUELINE SCOTT CORLEY
 7                                                          United States District Judge

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     [PROPOSED] ORDER GRANTING DEFS. LEAVE TO FILE SUPPLEMENTAL BR.
     No. 3:25-cv-03372-JSC                    2
